                   Case 20-10156-MFW               Doc 4      Filed 01/27/20         Page 1 of 32



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    BL RESTAURANTS HOLDING, LLC, et al., 1                      ) Case No. 20-10156 (___)
                                                                )
                              Debtors.                          ) (Joint Administration Requested)
                                                                )

                    DECLARATION OF HOWARD MEITINER IN SUPPORT
                   OF DEBTORS’ FIRST DAY MOTIONS AND APPLICATIONS

             Howard Meitiner declares as follows:

             1.     I am the Chief Restructuring Officer of BL Restaurants Holding, LLC; BL

Restaurant Operations, LLC; BL Restaurant Franchises, LLC; and BL Hunt Valley, LLC, the

debtors and debtors-in-possession in the above-captioned chapter 11 cases (each a “Debtor”, and

collectively, the “Debtors” or the “Company”). On the date hereof (the “Petition Date”), each of

the Debtors commenced a voluntary case under chapter 11 of title 11 of the United States Code,

11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”). I am familiar with the day-to-day operations,

businesses, and financial affairs of the Debtors.

             2.     I submit this declaration (the “First Day Declaration”) to provide the Court and

other parties in interest with an overview of the Debtors’ businesses and to describe the

circumstances compelling the commencement of these chapter 11 cases. I also submit this First

Day Declaration in support of the first day motions2 and applications filed by the Debtors



1
      The Debtors in these Chapter 11 Cases, along with the last four digits of each of the Debtors’ respective federal
      tax identification numbers, are as follows: BL Restaurants Holding, LLC (6665); BL Restaurant Operations, LLC
      (7062); BL Restaurant Franchises, LLC (6923); and BL Hunt Valley, LLC (9513). The Debtors’ headquarters
      and mailing address is: 4550 Beltway Drive, Addison, TX 75001.
2
      All references to agreements, pleadings, or other documentation or summaries thereof in this First Day
      Declaration are qualified in their entirety by the terms set forth in the relevant agreements, pleadings, or other
      documents.




PHIL1 8625973v.5
                   Case 20-10156-MFW       Doc 4    Filed 01/27/20    Page 2 of 32



contemporaneously herewith, or as soon as reasonably practicable hereafter, by which the Debtors

seek relief enabling the Debtors to continue as going concerns, operate effectively, minimize

certain of the potential adverse effects of the commencement of their chapter 11 cases, and preserve

and maximize the value of the Debtors’ estates. I submit this First Day Declaration based on my

own personal knowledge, except as expressly provided, and as my testimony, if called to testify.

                                          BACKGROUND

A.      The Company's Businesses

        3.         The Company was founded in 1991 in Chicago, Illinois around an original concept

of locally themed bars catering to the specific demographics within each neighborhood location.

The Company grew to 31 locations from 1991 to 2010, at which time it was acquired by its current

owners. From 2010 through and as of the end of 2019, the Company had grown to 110 owned

locations and 24 franchised locations through it franchising program, operating in 26 states and

the District of Columbia. The Company’s gastrobars are located in a variety of locations, including

lifestyle centers, traditional shopping malls, event locations, central business districts and other

stand-alone specialty sites. Each gastrobar operates under the “Bar Louie” brand name and offers

a wide range of beer, liquor and curated food offerings.

        4.         Currently, the Company is focused on key initiatives designed to drive traffic,

increase sales, and enhance the customer experience, including its Louie Nation Loyalty Program,

construction of private dining rooms where feasible, construction of covered patios to limit the

impact of weather on outdoor seating areas, implementation of store-level party planning sales

managers, and corporate gift card partnerships. The Company also consistently reviews pricing,

menu items, and specials to enhance and provide value and variety for its customers.




PHIL1 8625973v.5
                   Case 20-10156-MFW       Doc 4     Filed 01/27/20     Page 3 of 32



        5.         The Company's revenue for the twelve months ended December 31, 2019, was $252

million, down 3.7% from the prior year.

        6.         The Debtors employ approximately 4,141 full-time and part-time hourly

employees, approximately 370 full time restaurant salaried employees, and 55 salaried employees

at the corporate headquarters in Addison, Texas. None of the Debtors' employees are covered by

a collective bargaining agreement.

B.      Corporate and Capital Structure of the Company

        7.         BL Restaurants Holding, LLC owns 100% of the interests in BL Restaurant

Operations, LLC , which itself owns 100 % of the interests in BL Restaurant Franchises, LLC and

100 % of the voting interests BL Hunt Valley, LLC. A Corporate Organizational Chart is attached

hereto as Exhibit A.

        8.         As of the Petition Date, the Debtors’ capital structure consists of outstanding

funded-debt obligations in the aggregate principal amount of approximately $87 million, and

unsecured trade of $8 million, and other potential unsecured debt of approximately $6 million,

exclusive of potential lease termination claims.

I.      Prepetition First Lien Secured Credit Facility.

        9.         The Prepetition First Lien Secured Lenders (as defined below) extended certain

loans and made other financial accommodations to, and issued letters of credit for the account of,

certain of the Debtors (the “Prepetition First Lien Facility”), pursuant to that to that certain Credit

Agreement, dated as of March 27, 2014 (as amended, restated or otherwise modified from time to

time prior to the Petition Date, the “Prepetition First Lien Secured Credit Agreement” and,

collectively with any other agreements executed or delivered in connection therewith, and all other

“Loan Documents” as defined therein, each as may be amended, restated, supplemented, or

otherwise modified from time to time, the “Prepetition First Lien Loan Documents”), among



PHIL1 8625973v.5
                   Case 20-10156-MFW               Doc 4      Filed 01/27/20        Page 4 of 32



(a) BL Restaurant Operations, LLC, as Borrower (as defined in the Prepetition First Lien Secured

Credit Agreement, (b) the other Persons party thereto as Credit Parties (as defined in the Prepetition

First Lien Secured Credit Agreement) (together with the Borrower, the “Prepetition Credit

Parties”), (c) the financial institutions party thereto as “Lenders” (collectively, the “Prepetition

First Lien Secured Lenders”), and (d) Antares, as agent (in such capacity, the “Prepetition First

Lien Secured Agent” and, together with the Prepetition First Lien Secured Lenders and any other

party to which Prepetition First Lien Obligations (as defined below) are owed, the “Prepetition

First Lien Secured Parties”).

          10.      Pursuant to a Guaranty and Security Agreement, dated as of March 27, 2014 (as

amended, restated or otherwise modified from time to time prior to the Petition Date, the

“Guaranty”), the Credit Parties (as defined in the Prepetition First Lien Secured Credit Agreement)

unconditionally guaranteed the Borrower’s obligations under the Prepetition First Lien Loan

Documents.

          11.      As of the Petition Date, the Debtors owed the Prepetition First Lien Secured Parties,

pursuant to the Prepetition First Lien Loan Documents, without defense, counterclaim, or offset of

any kind, in respect of loans made and letters of credit issued by the Prepetition First Lien Secured

Parties: (a) an aggregate principal amount of not less than $48,030,501.82 with respect to Term

Loans (as defined in the Prepetition First Lien Secured Credit Agreement), an aggregate principal

amount of not less than $14,409,875.00 with respect to Revolving Loans (as defined in the

Prepetition First Lien Secured Credit Agreement),3 and an aggregate face amount of zero dollars

($0.00) with respect to Prepetition Letters of Credit, and (b)(I) all obligations under any Secured

Rate Contract, and (II) any other Obligations (each as defined in the Prepetition First Lien Secured


3   The Revolving Loans are composed of not less than $11,409,875.00 in Original Revolving Loans and $3 million in LIFO
    Revolving Loans (each as defined in the Prepetition First Lien Secured Credit Agreement).




PHIL1 8625973v.5
                   Case 20-10156-MFW        Doc 4     Filed 01/27/20    Page 5 of 32



Credit Agreement), plus (c) all accrued and hereafter accruing and unpaid interest thereon and any

additional fees, expenses (including any reasonable attorneys’, accountants’, appraisers’, and

financial advisors’ fees and expenses that are chargeable or reimbursable under the Prepetition

First Lien Loan Documents), and other amounts now or hereafter due under the Prepetition First

Lien Loan Documents and applicable law (collectively, the “Prepetition First Lien Obligations”).

        12.        Prior to the Petition Date and pursuant to the Collateral Documents (as defined in

the Prepetition First Lien Secured Credit Agreement) (as such documents were amended, restated,

supplemented, or otherwise modified from time to time prior to the Petition Date, the “Prepetition

First Lien Collateral Documents”), by and among each of the Prepetition Credit Parties and the

Prepetition First Lien Secured Agent, each Prepetition Credit Party granted to the Prepetition First

Lien Secured Agent, for the benefit of itself and the other Prepetition First Lien Secured Parties,

to secure the Prepetition First Lien Obligations, a first priority security interest in and continuing

lien (the “Prepetition First Liens”) on substantially all of such Prepetition Credit Party’s assets and

properties (including Cash Collateral) and all proceeds, products, accessions, and profits thereof,

in each case whether then owned or existing or thereafter acquired or arising. (All “Collateral,” as

defined in the Prepetition First Lien Secured Credit Agreement, granted or pledged by the

Prepetition Credit Parties pursuant to any Prepetition First Lien Collateral Document or any other

Prepetition First Lien Loan Document shall collectively be referred to herein as the “Prepetition

First Lien Collateral”).

        13.        Additionally, the Prepetition Credit Parties have entered into deposit account

control agreements in favor of the Prepetition First Lien Secured Agent with respect to their bank

accounts. Thus, substantially all of the Debtors’ cash is subject to a perfected security interest in

favor of the Prepetition First Lien Secured Agent.




PHIL1 8625973v.5
                   Case 20-10156-MFW        Doc 4    Filed 01/27/20    Page 6 of 32



II.     Prepetition Intercreditor Agreement.

        14.        The Prepetition First Lien Secured Agent, the Prepetition Credit Parties, and the

Prepetition Second Lien Secured Agent (as defined below) are parties to that certain Intercreditor

Agreement, dated as of August 30, 2017 (as amended, restated, supplemented, or otherwise

modified in accordance with its terms, the “Intercreditor Agreement”), which sets forth

subordination and other provisions governing the relative priorities and rights of the Prepetition

First Lien Obligations and the Prepetition First Liens, on the one hand, and the Prepetition Second

Lien Obligations and the Prepetition Second Liens (each term as defined below), on the other hand.

The Debtors admit, stipulate, and agree that the Intercreditor Agreement was entered into in good

faith and is fair and reasonable to the parties thereto and enforceable in accordance with the terms

thereof.

III.    Prepetition Second Lien Secured Credit Facility

        15.        The Prepetition Second Lien Secured Lenders (as defined below) extended certain

loans and made other financial accommodations to, and issued letters of credit for the account of,

certain of the Debtors (the “Prepetition Second Lien Facility”), pursuant to that certain

Subordinated Credit Agreement, dated as of August 30, 2017 (as amended, restated or otherwise

modified from time to time prior to the Petition Date, the “Prepetition Second Lien Secured Credit

Agreement,” collectively with any other agreements executed or delivered in connection therewith,

each as may be amended, restated, supplemented, or otherwise modified from time to time, the

“Prepetition Second Lien Loan Documents” and, together with the Prepetition First Lien Loan

Documents, collectively the “Prepetition Secured Loan Documents”), among (a) the Persons

designated as “Borrower” on the signature pages thereto (the “Prepetition Second Lien

Borrowers”), (b) the other Credit Parties (as defined in the Prepetition Second Lien Secured Credit

Agreement) party thereto, (c) the financial institutions party thereto as “Lenders” (as defined in



PHIL1 8625973v.5
                   Case 20-10156-MFW       Doc 4   Filed 01/27/20    Page 7 of 32



the Prepetition Second Lien Secured Credit Agreement) (collectively, the “Prepetition Second

Lien Secured Lenders”), and (d) BL Restaurants Group Holding Corp., as agent (in such capacity,

the “Prepetition Second Lien Secured Agent” and, together with the Prepetition Second Lien

Secured Lenders and any other party to which Prepetition Second Lien Obligations (as defined

below) are owed, the “Prepetition Second Lien Secured Parties” and, together with the Prepetition

First Lien Secured Parties, the “Prepetition Secured Parties”).

        16.        As of the Petition Date, the Debtors owed the Prepetition Second Lien Secured

Parties, pursuant to the Prepetition Second Lien Loan Documents, without defense, counterclaim,

or offset of any kind, an aggregate principal amount of not less than $23.6 million, plus all

prepetition accrued, accruing and unpaid interest thereon and any additional reasonable fees and

expenses (including any reasonable attorneys’, accountants’, appraisers’, and financial advisors’

fees and expenses that are chargeable or reimbursable under the Prepetition Second Lien Loan

Documents), and other amounts now or hereafter due under the Prepetition Second Lien Loan

Documents and applicable law (collectively, the “Prepetition Second Lien Obligations” and,

together with the Prepetition First Lien Obligations, the “Prepetition Secured Obligations”).

        17.        The Prepetition Second Lien Obligations are secured by Liens granted to the

Prepetition Second Lien Secured Agent, for the benefit of the Prepetition Second Lien Secured

Parties (the “Prepetition Second Liens” and, together with the Prepetition First Liens, the

“Prepetition Liens”), on substantially all of the Debtors’ assets and properties (including Cash

Collateral) as set forth in the Prepetition Second Lien Loan Documents, whether then owned or

existing or thereafter acquired or arising. All “Collateral,” as defined in the Prepetition Second

Lien Secured Credit Agreement, granted or pledged by the Debtors pursuant to any Prepetition

Second Lien Loan Documents shall collectively be referred to herein as the “Prepetition Second




PHIL1 8625973v.5
                   Case 20-10156-MFW        Doc 4    Filed 01/27/20    Page 8 of 32



Lien Collateral” and, together with the Prepetition First Lien Collateral, the “Prepetition

Collateral”).

C.      Events Leading to the Commencement of the Chapter 11 Cases

        18.        Over the past several years, the opening of new locations was the primary driver

for sales and profit growth for the Company. This growth was partially funded through new debt,

but also utilized cash flow from operations, which ultimately over time restricted liquidity

otherwise needed for store refreshes and equipment maintenance and modernization, resulting in

inconsistent delivery of the brand promise across the system. This inconsistent brand experience,

coupled with increased competition and the general decline in customer traffic visiting traditional

shopping locations and malls, resulted in less traffic at the Company’s locations proximate to

shopping locations and malls and contributed to sales falling short of forecast. These customer

declines were also driven by major changes in consumer behavior, including the general national

trend away from casual dining. The combination of these factors had a particularly major impact

on a significant segment of the Company’s footprint.

        19.        In 2018, a new CEO was hired, and a new management team was assembled. This

new team implemented a turnaround strategy including the following initiatives: (a) improving the

guest experience through better customer service and store maintenance; (b) improving the quality

of the food offerings to better compliment a world class beverage program; and (c) redefining the

brand essence and developing a new advertising campaign to communicate to the guest base. The

Company has been focused on new corporate sales initiatives to improve same store sales, (“SSS”),

and has implemented key initiatives designed to drive traffic, increase sales, and enhance the

customer experience as outlined above. (See ⁋4 above).




PHIL1 8625973v.5
                   Case 20-10156-MFW        Doc 4    Filed 01/27/20    Page 9 of 32



        20.        These initiatives have positively impacted the Company’s performance in 72 of the

110 corporate locations. However, despite successful execution of these programs, 38 of the

locations have seen their sales and profits decline at an accelerating pace. These declines forced a

reduction of expenses and other investments, with the inevitable impact being felt throughout the

whole system. Despite the success of these initiatives, the Company’s lack available liquidity has

resulted in delays to the broader roll out of these initiatives to other locations and curtailed the

ability to implement further marketing related activities compared to others in the industry,

resulting in a SSS decline in 2019 of 4.2%.

        21.        The 38 locations that represented a major, ongoing challenge to the Company

generated a loss of $4.0 million loss in 2019. Further, the surrounding environment at these

locations has seen significant declines in customer traffic and coupled with increasing rental and

other store level costs, could no longer absorb the continuing decline in sales at these locations.

These 38 locations saw SSS decline of 10.9% in 2019, whereas the rest of the system only

experienced a 1.4% SSS decline. The bulk of the decline occurred in the 4th quarter 2019, when

financial conditions and a lack of liquidity forced management to significantly reduce marketing

spend

        22.        To assist the management team, Carl Marks Advisors were engaged in September

2019 to provide general advice, a strategic review of the business, cash management oversight and

potential restructuring solutions to address the Company’s challenges preventing its realization of

future profitability and growth.        The Company also       engaged Configure Partners, LLC

(“Configure”) on September 20, 2019 as their proposed investment banker to assist in the

evaluation of strategic alternatives, including the sale of the Company, refinancing, or other




PHIL1 8625973v.5
                   Case 20-10156-MFW       Doc 4    Filed 01/27/20    Page 10 of 32



alternatives. The Company also engaged Howard Meitiner of Carl Marks to serve as Chief

Restructuring Officer effective January 23, 2020.

        23.        The Prepetition First Lien Secured Parties supported the Company’s restructuring

and sales efforts by making available an incremental $3 million in revolving credit in October

2019. However, the Company lacked sufficient liquidity to continue to fund projected cash needs

due to lower than expected cash flow from operations, continuing operating losses at certain

locations and the concomitant inability to access additional financing.

        24.        After its engagement, Configure prepared a marketing teaser and confidential

information memorandum that it used to market the sale of the Debtors’ assets. As of the Petition

Date, Configure contacted approximately 101 potential strategic buyers and 153 financial buyers,

out of which 73 executed confidentiality agreements and received the confidential information

memorandum and access to key documents in an online data room. The Debtors received initial

indications interest from 7 potential buyer and engaged in additional diligence discussions

including management presentations in Dallas. Out of the 7 potential buyers, three parties

submitted letters of Intent in December 2019. Meanwhile, the Debtors continued to suffer a drain

on cash flow from its underperforming stores. Consequently, it became apparent, that the Debtors

liquidity position would require that the sale process continue in a chapter 11 process. Rather than

commence these chapter 11 cases with no stalking horse, in December 2019, concurrently with the

sale process, the Debtors and its advisors had commenced discussions with the Prepetition First

Lien Secured Lenders and the Prepetition First Lien Secured Agent to serve as a “stalking horse”

via a credit bid and ultimately executed an asset purchase agreement with BLH Acquisition Co.,

LLC to serve as the stalking horse in its sale process.




PHIL1 8625973v.5
                   Case 20-10156-MFW        Doc 4     Filed 01/27/20     Page 11 of 32



        25.        Also immediately preceding the filing of these chapter 11 cases, and after

unsuccessful attempts to reduce store level costs and drive sales, the Company closed the 38

unprofitable locations referenced above. (See ⁋⁋20 and 21 above). Considering all the events

previously detailed, increasing store level costs, the need to exit 38 closed locations, and limited

liquidity to pursue strategic alternatives outside of the bankruptcy process, the Company decided

to seek protection under chapter 11 of the Bankruptcy Code, pursue the sale of their assets as a

going concern, and commenced these chapter 11 cases.

D.      Goals of the Chapter 11 Cases

        26.        The Company commenced these chapter 11 cases to preserve value for its

stakeholders, including its employees and creditors. Additionally, the Debtors have negotiated a

debtor-in-possession financing facility that will allow the Debtors to continue to operate in the

normal course, pay landlords and vendors, and have sufficient liquidity to pay the administrative

costs, both operational and statutory, required in these chapter 11 cases.

        27.        Contemporaneously with the filing of these chapter 11 cases, the Debtors filed their

sale procedures motion and sale motion with the Court to approve the asset purchase agreement

with BLH Acquisition Co., LLC to serve as the stalking horse purchaser, establish a formal sale

timeline, which will include an auction process, with a goal of exposing the existing asset purchase

agreement to higher and better offers.

        28.        After the Petition Date, the Debtors and Configure will continue discussions with

interested parties and market the Debtors’ assets with a goal of entering into an asset purchase

agreement with a stalking horse buyer.

        29.        The Debtors believe that a marketing and sale process through these chapter 11

cases is in the best interests of the Company's creditors and will maximize the value of these estates




PHIL1 8625973v.5
                   Case 20-10156-MFW       Doc 4     Filed 01/27/20    Page 12 of 32



                             Evidentiary Support for First Day Motions

        30.        Contemporaneously, the Debtors have filed a number of first day pleadings seeking

relief that the Debtors believe is necessary to enable them to efficiently administer their estates

with minimal disruption and loss of value during these chapter 11 cases. The Debtors request that

the relief sought in each of the first day motions be granted as critical elements in ensuring the

maximization of value of the Debtors’ estates. I believe that the relief requested in the first day

motions is necessary to allow the Debtors to operate with minimal disruption during the pendency

of these chapter 11 cases. I have reviewed each of the first day motions discussed below, and the

facts set forth in each first day motion are true and correct to the best of my knowledge and belief

with appropriate reliance on corporate officers and advisors. A description of the relief requested

in and the facts supporting each of the first day motions is set forth in Exhibit B attached hereto

and incorporated herein by reference.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true correct.

 Dated: January 27, 2020                            /s/ Howard Meitiner
                                                    Name: Howard Meitiner
                                                    Title: Chief Restructuring Officer




PHIL1 8625973v.5
               Case 20-10156-MFW                 Doc 4      Filed 01/27/20   Page 13 of 32



                                                   EXHIBIT A

                                               Organizational Chart




                                                     BL Restaurants
                                                      Holding, LLC
                                                      (Delaware)




                                                      BL Restaurant
                                                     Operations, LLC
                                                       (Delaware)




               BL Restaurant Franchises, LLC                                 BL Hunt Valley, LLC*
                       (Delaware)                                                (Maryland)




PHIL1 8625973v.5
               Case 20-10156-MFW              Doc 4      Filed 01/27/20       Page 14 of 32



                                                EXHIBIT B

                             Evidentiary Support for First Day Motions4




4
    Capitalized terms not defined hereafter shall have the same meanings ascribed to such terms in the respective
    First Day Motions.



PHIL1 8625973v.5
                    Case 20-10156-MFW              Doc 4      Filed 01/27/20       Page 15 of 32




                                  Evidentiary Support for First Day Motions1

    I.       Debtors’ Motion f or Entry of an Order (I) Directing Joint Administration of Their
             Related Chapter 11 Cases and (II) Granting Related Relief (the “Joint
             Administration Motion”).


             1.       Pursuant to the Joint Administration Motion, the Debtors request entry of an order

directing the joint administration of their related chapter 11 cases and granting any related relief.

Given the integrated nature of the Debtors’ operations, joint administration of these chapter 11

cases will provide significant administrative convenience and cost savings to the Debtors without

harming the substantive rights of any party in interest.

             2.       Many of the motions, hearings, and orders in these chapter 11 cases will affect each

Debtor entity. For example, virtually all of the relief sought by the Debtors in the First Day

Motions is sought on behalf of all of the Debtors. The entry of an order directing joint

administration of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings

and objections. Joint administration of these chapter 11 cases, for procedural purposes only, under

a single docket, will also ease the administrative burdens on the Court by allowing the Debtors’

cases to be administered as a single joint proceeding, instead of multiple independent chapter 11

cases. Accordingly, I respectfully submit that the Joint Administration Motion should be

approved.




1
         Capitalized terms not defined hereafter shall have the same meanings ascribed to such terms in the respective
         First Day Motion.



PHIL1 8628754v.1
                  Case 20-10156-MFW          Doc 4    Filed 01/27/20     Page 16 of 32



 II.    Debtors’ Motion For Entry of an Order (I) Authorizing the Debtors to File A
        Consolidated List of Creditors in Lieu of Submitting A Separate Mailing Matrix for
        Each Debtor, and (II) Granting Related Relief (the “Creditor Matrix Motion”).

        3.         Pursuant to the Creditor Matrix Motion, the Debtors seek entry of an order

authorizing the Debtors to maintain a consolidated list of creditors in lieu of submitting a separate

mailing matrix for each Debtor and granting related relief.

        4.         Although I understand that a list of creditors is usually filed on a debtor-by-debtor

basis, in a complex chapter 11 bankruptcy case involving more than one debtor, the debtors may

file a consolidated creditor matrix “in the interest of justice.” Requiring the Debtors to segregate

and convert their computerized records to a Debtor-specific creditor matrix format would be an

unnecessarily burdensome task and result in duplicate mailings. Accordingly, I respectfully

submit that the Court should approve the Creditor Matrix Motion.

III.    Application of the Debtors For Entry of Order Appointing Epiq Corporate
        Restructuring, LLC as Claims and Noticing Agent Effective as of Petition Date (the
        “Claims and Noticing Agent Retention Application”).

        5.         Pursuant to the Claims and Noticing Agent Retention Application, the Debtors seek

entry of an order appointing Epiq Corporate Restructuring, LLC (“Epiq”) as claims and noticing

agent for the Debtors and their chapter 11 cases, effective nunc pro tunc to the Petition Date,

including assuming full responsibility for the distribution of notices and the maintenance,

processing, and docketing of proofs of claim filed in the Debtors’ chapter 11 cases and granting

related relief.

        6.         Based on my discussions with the Debtors’ advisors, I believe that the Debtors’

selection of Epiq to act as the Claims and Noticing Agent is appropriate under the circumstances

and in the best interest of the estates.        Moreover, it is my understanding that based on all




PHIL1 8628754v.1
               Case 20-10156-MFW           Doc 4     Filed 01/27/20    Page 17 of 32



engagement proposals obtained and reviewed that Epiq’s rates are competitive and comparable to

the rates charged by their competitors for similar services.

        7.         The Debtors anticipate that there will be thousands of parties and entities to be

noticed in these chapter 11 cases. In light of the number of parties in interest and the complexity

of the Debtors’ businesses, the Debtors submit that the appointment of a claims and noticing agent

will provide the most effective and efficient means of, and relieve the Debtors and/or the Clerk’s

office of the administrative burden of, noticing and processing proofs of claim and is in the best

interests of both the Debtors’ estates and their creditors. Accordingly, on behalf of the Debtors, I

respectfully submit that the Court should approve the Claims and Noticing Agent Retention

Application.

IV.     Debtors’ Motion for Entry of an Interim and Final Order (I) Authorizing the
        Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor
        Certain Prepetition Obligations Related Thereto, a n d (C) Maintain Existing
        Business Forms, and (II) Granting Related Relief (the “Cash Management
        Motion”).

        8.         Pursuant to the Cash Management Motion, the Debtors seek entry of interim and

final orders authorizing the Debtors to (i) continue to operate their Cash Management System; (ii)

honor certain prepetition obligations related thereto; and (iii) maintain existing Business Forms in

the ordinary course of business and granting any related relief.

        9.         The Debtors’ Cash Management System is similar to the centralized cash

management systems used by other comparably sized companies to manage cash flow. The

Debtors use their Cash Management System in the ordinary course to transfer and distribute funds

and to facilitate cash monitoring, forecasting, and reporting.         The Debtors maintain daily

oversight over the Cash Management System and implement cash management controls for

entering, processing, and releasing funds.         Additionally, the Debtors’ corporate accounting




PHIL1 8628754v.1
               Case 20-10156-MFW             Doc 4    Filed 01/27/20      Page 18 of 32



and cash forecasting personnel regularly reconcile the Debtors’ books and records to ensure

that all transfers are accounted for properly.

        10.        Because of the disruption that would result if the Debtors were forced to close their

existing bank accounts, I believe that it is critical that the existing Cash Management System

remain in place. I believe that the relief requested in the Cash Management Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable the

Debtors to continue to operate their businesses in chapter 11.          Accordingly, on behalf of the

Debtors, I respectfully submit that the Cash Management Motion should be approved.

V.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing, But Not
        Directing, the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
        Compensation, and Reimbursable Employee Expenses and (B) Continue Employee
        Benefits Programs, and (II) Granting Related Relief (the “Wages Motion”).

        11.        Pursuant to the Wages Motion, the Debtors seek entry of interim and final orders

authorizing, but not directing, the Debtors to (i) pay prepetition wages, salaries, other

compensation, payroll services, federal and state withholding taxes and other amounts withheld

plus reimbursable employee expenses, and (ii) continue employee benefits programs in the

ordinary course, including payment of certain prepetition obligations related thereto. The

Debtors seek authority to make the following payments related to prepetition amounts owed on

account of the Employee Compensation and Benefits:

     Employee Obligation                                            Interim         Final Amount
                                                                    Amount
     Employee Compensation, Gross Wages and Tips                     $3,050,000          $3,410,000

     Withholding Obligations                                           $485,000            $585,000

     Payroll Processing Fees                                            $20,000             $30,000

     Reimbursable Expenses                                             $100,000            $150,000

     Employee Benefits Programs                                        $250,000            $500,000



PHIL1 8628754v.1
               Case 20-10156-MFW          Doc 4    Filed 01/27/20   Page 19 of 32



    Employee Obligation                                        Interim        Final Amount
                                                               Amount
    Total                                                       $3,755,000        $4,325,000



        12.        The Debtors employ approximately 4100 full-time and part-time hourly

employees, approximately 370 full time restaurant salaried employees, and 55 salaried employees

at the corporate headquarters in Addison, Texas (collectively, the “Employees”). The Employees

perform a variety of functions critical to the preservation of value and the administration of the

Debtors’ estates. In many instances, the Employees include personnel who are intimately familiar

with the Debtors’ businesses, processes, and systems, and who cannot be easily replaced.

        13.        The majority of Employees rely on t he Employee Compensation and Benefits to

pay their daily living expenses. Thus, Employees will face significant financial consequences if

the Debtors are not permitted to continue the Employee Compensation and Benefits in the

ordinary course of business. The Debtors seek to minimize the personal hardship the Employees

would suffer if employee obligations are not paid when due or as expected. Consequently, I

believe the relief requested is necessary and appropriate.

        14.        The Debtors are seeking authority to pay and honor certain prepetition claims

relating to the Employee Compensation and Benefits, including, among other things, wages,

salaries, and other compensation, payroll services, federal and state withholding taxes and other

amounts withheld, reimbursable expenses, health insurance, life insurance, workers’

compensation benefits, short- and long-term disability coverage, auxiliary benefits, retirement

plans, paid time off, severance, and other benefits that the Debtors have historically directly or

indirectly provided to the Employees in the ordinary course of business and as further described

in the Wages Motion.




PHIL1 8628754v.1
               Case 20-10156-MFW            Doc 4    Filed 01/27/20    Page 20 of 32



        15.        I believe the Employees provide the Debtors with services necessary to conduct the

Debtors’ businesses, and absent the payment of the Employee Compensation Benefits owed to the

Employees, the Debtors will likely experience Employee turnover and instability at this critical

time. I believe that without these payments, the Employees may become demoralized and

unproductive because of the potentially significant financial strain and other hardships the

Employees may face. Employees may then elect to seek alternative employment opportunities. I

believe enterprise value may be materially impaired to the detriment of all stakeholders in such a

scenario. I, therefore, believe that payment of the prepetition obligations with respect to the

Employee Compensation and Benefits is a necessary and critical element of the Debtors’ efforts to

preserve value and will give the Debtors the greatest likelihood of retention of their Employees

as the Debtors seek to operate their business in these chapter 11 cases.

        16.        Therefore, I believe that the relief requested in the Wages Motion inures to the

benefit of all parties in interest. Accordingly, on behalf of the Debtors, I respectfully submit that

the Court should approve the Wages Motion.

VI.     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
        Debtors to Maintain and Administer Their Existing Customer Programs and Honor
        Certain Prepetition Obligations Related Thereto and (II) Granting Related Relief
        (the “Customer Programs Motion”).

        17.        The Debtors have historically provided gift cards, coupons, discounts, and other

accommodations to their customers to attract and maintain positive customer relationships. The

Customer Programs promote customer satisfaction and inure to the goodwill of the Debtors’

businesses and the value of their brand. Accordingly, maintaining the goodwill of their customers

is critical to the Debtors’ ongoing operations in these chapter 11 cases, and is necessary to

maximize value for the benefit of all of the Debtors’ stakeholders.




PHIL1 8628754v.1
               Case 20-10156-MFW            Doc 4    Filed 01/27/20     Page 21 of 32



        18.        Importantly, I understand that the Debtors estimate that substantially all of their

prepetition obligations under the Customer Programs, including those for pre-paid gift cards,

rewards, discounts, or other similar obligations owing to their customers do not entail the

expenditure of cash.

        19.        The Debtors seek authorization in their sole discretion to honor all gift cards

purchased by or issued to customers prior to the Petition Date and maintain the Gift Cards Program

postpetition. The Debtors also seek to continue their Rewards Program whereby participating

customers earn points for each meal, beverage and/or gift card purchased from the Debtors.

Neither the Gift Card nor the Rewards Program require a cash outlay by the Debtors.

        20.        I believe that continuing to administer the Customer Programs without interruption

during the pendency of the chapter 11 cases will help preserve the Debtors’ valuable customer

relationships and goodwill, which will inure to the benefit of all of the Debtors’ creditors and

benefit their estates. In contrast, if the Debtors are unable to continue the Customer Programs

postpetition or honor their existing obligations thereunder, the Debtors risk alienating certain

customers (who might then decide to patron the Debtors’ competitors) and might suffer

corresponding losses in customer loyalty and goodwill that will harm their prospects for

maximizing the value of their estates. The Debtors’ Customer Programs are essential marketing

strategies for attracting new customers.

        21.        I believe that the failure to honor the Customer Programs could place the Debtors

at a competitive disadvantage in the marketplace, amplifying the negative effect of customer

uncertainty that may arise from the chapter 11 filings. Such uncertainty could erode the Debtors’

hard-earned reputation, which, in turn, could adversely impact the prospects for a successful sale

process in these chapter 11 cases.




PHIL1 8628754v.1
               Case 20-10156-MFW            Doc 4     Filed 01/27/20      Page 22 of 32



        22.        I believe that the relief requested herein will benefit the Debtors’ estates and the

sale process, both in terms of profitability and the engendering of goodwill, especially at this

critical time following the filing of the chapter 11 cases. Accordingly, on behalf of the Debtors, I

respectfully submit that the Court should approve the Customer Programs Motion.

VII.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to
        Pay Certain Prepetition Claims of Trade Claimants, PACA/PASA Claimants, and
        Other Venders; and (II) Approving the Procedures Related Thereto; and (III)
        Granting Related Relief (the “Comprehensive Vendor Motion”).

        23.        Pursuant to the Comprehensive Vendor Motion, the Debtors seek entry of interim

and final orders: (i) authorizing the Debtors to pay, in their sole discretion, prepetition claims held by

(a) Critical Vendors; (b) Logistics Claimants; (c) PACA/PASA Claimants’ and (d) section

503(b)(9) Claimants in a n a g g r e g a t e amount not to exceed $2.0 million, pursuant to the

Interim Order and, inclusive of amounts paid pursuant to the Interim Order, an aggregate amount

not to exceed $5.0 million, pursuant to the Final Order, in each case absent further order of the

Court; and (ii) granting related relief.

        24.        The Debtors interact with numerous different vendors and the Debtors have

undergone a stringent analysis, in consultation with their advisors, to determine which vendors fall

into these categories of Claimants and the extent to which each vendor is critical to the ongoing

operations of the Debtors’ businesses. A number of these vendors possess claims that are entitled

to certain priorities under Bankruptcy Code section 503(b)(9) or under PACA or PASA (as defined

in the Comprehensive Vendor Motion). A number of these creditors may be entitled to possessory

liens or a statutory trust for goods in transit to the Debtors. Additionally, a number of these vendors

may be vendors that are essential to the Debtors’ operations and cannot be replaced. The Debtors

have long-standing, familiar relationships with a number of their top vendors that have specific

delivery schedules, quality and portion sizing, and special products with exacting specifications



PHIL1 8628754v.1
               Case 20-10156-MFW            Doc 4    Filed 01/27/20     Page 23 of 32



that have been developed over a long period of time. Replacing these vendors would be extremely

time consuming and could cause significant operational disruptions at a time the Debtors can least

afford to experience them. Furthermore, due to the nature of the Debtors’ restaurant business that

requires frequent deliveries and quick turnover of goods sold, a very significant number of the

creditors affected by this Comprehensive Vendor Motion will fall into more than one of the

categories described in the Motion.

        25.        The Debtors proposed to undertake a reconciliation of such claims, and in their

discretion and in accordance with their business judgement, determine which of these claims

should be currently satisfied and whether or not the payment of such claims should be contingent

on the extension of favorable business terms.

        26.        Recognizing that payment of prepetition claims of certain vendors is extraordinary

relief, the Debtors, with the assistance of myself and the Debtors’ advisors, reviewed their

books and records, consulted operations management and purchasing personnel, reviewed

contracts and supply agreements, and analyzed applicable laws, regulations, and historical practices

to identify the limited number of vendors that are critical to the continued and uninterrupted

operation of the Debtors’ businesses―the loss of which could materially harm their businesses,

shrink their market share, reduce their enterprise value, and impair going-concern viability.

        27.        The Debtors submit that the requested relief will allow the Debtors to continue to

operate and preserve the value of their estates by paying certain prepetition claims of certain vendors

that are critical to the Debtors’ business enterprise. Accordingly, the Debtors seek authority, but

not direction, to pay prepetition claims of certain Critical Vendors, Logistics Claimants,

PACA/PASA Claimants and Section 503(b)(9) Claimants, on a case-by-case basis, a total of




PHIL1 8628754v.1
               Case 20-10156-MFW            Doc 4    Filed 01/27/20    Page 24 of 32



approximately $5 million in the aggregate, with an amount up to $2 million due and payable on an

interim basis and up to an additional $3 million due and payable on a final basis.

        28.        Accordingly, on behalf of the Debtors, I respectfully submit that the Court should

approve the Comprehensive Vendor Motion.

VIII. Debtors’ Motion for Entry of Interim and Final Orders (I) Prohibiting Utility
      Providers From Altering, Refusing, or Discontinuing Utility Services, (II)
      Determining Adequate Assurance of Payment for Future Utility Services, (III)
      Establishing Procedures for Determining Adequate Assurance of Payment, and
      (VI) Granting Related Relief (the “Utilities Motion”).

        29.        In connection with the operation of their businesses and management of their

properties, the Debtors obtain water, sewer service, electricity, waste disposal, natural gas, and

other similar services either directly from utility companies or their brokers or indirectly from

landlords that pay for and pass through the costs associated therewith to the Debtors in accordance

with the applicable nonresidential real property lease. The relief requested herein applies to all

Utility Providers.

        30.        The Debtors pay approximately $785,000 per month on average over the prior

twelve-month period for utilities. Accordingly, with the closure of certain locations, the Debtors

estimate that their cost for Utility Services during the next 30 days will be approximately $550,000.

The Debtors propose depositing $392,500 into a segregated account as additional assurance of

payment, which is an amount sufficient to cover one-half of the Debtors’ average monthly cost

based on the historical average payment.

        31.        Additionally, the Debtors seek approval of their proposed Adequate Assurance

Procedures. These procedures allow Utility Providers to request adequate assurance for unpaid

Utility Services and additional adequate assurance when they believe the proposed amount is not

sufficient. This ensures that all key stakeholder groups obtain notice of such request before it is

honored.


PHIL1 8628754v.1
                Case 20-10156-MFW                    Doc 4        Filed 01/27/20           Page 25 of 32



        32.        Any disruption in the Debtors’ businesses would adversely impact customer

relationships and result in a significant decline in the Debtors’ revenues and profits. This, in turn,

jeopardizes the value of the Debtors’ estates and impacts creditor recoveries. Therefore, it is

critical that Utility Services continue uninterrupted during these chapter 11 cases. Accordingly,

on behalf of the Debtors, I respectfully submit that the Court should approve the Utilities Motion.

IX.     Debtors’ Motion for Entry of an Interim and Final Order (I) Authorizing, But Not
        Directing the Payment of Certain Prepetition Taxes and Fees and (II) Granting
        Related Relief (the “Taxes Motion”).

        33.        The Debtors request entry of interim and final orders authorizing, but not directing,

the Debtors, in their sole discretion, to negotiate, remit and pay certain accrued and outstanding

prepetition obligations accrued in the ordinary course of business on account of the Taxes and

Fees in an aggregate amount not to exceed $2,090,000 on an interim basis and $2,300,000 on a

final basis, absent further order of the Court; and to continue negotiating and paying the Taxes

and Fees accrued in the ordinary course of business on a postpetition basis.

        34.        The Debtors collect, incur, and pay sales and use taxes, franchise taxes and various

other governmental taxes, fees, and assessments. The Debtors remit the Taxes and Fees to various

federal, state, and local governments, including taxing authorities. Taxes and Fees are remitted

and paid by the Debtors through checks and electronic transfers that are processed through their

banks and other financial institutions. The Debtors estimate that approximately $2,300,000 in

Taxes and Fees relating to the prepetition period are or will become due and owing to the

Governmental Authorities after the Petition Date in the ordinary course.2 The Debtors further

estimate that approximately $2,090,000 in Taxes and Fees relating to the prepetition period are or

will become due and owing to the Governmental Authorities within 30 days after the Petition Date.



2       This estimate does not include any potential prepetition tax liability that may later come due as the result of an audit.



PHIL1 8628754v.1
               Case 20-10156-MFW             Doc 4     Filed 01/27/20      Page 26 of 32



         35.       The Debtors must continue to pay the Taxes and Fees to avoid potential costly

distractions during these chapter 11 cases. Specifically, the Debtors’ failure to pay the Taxes

and Fees could adversely affect the Debtors’ estate because the Governmental Authorities could

file liens or seek to lift the automatic stay.

         36.       I believe that the relief requested in the Taxes Motion is in the best interests of the

Debtors’ estates, their creditors, and all other parties in interest, and will enable the Debtors to

continue to operate their businesses in chapter 11 without disruption. Accordingly, on behalf of

the Debtors, I respectfully submit that the Taxes Motion should be approved.

X.       Debtors’ Motion for Entry of an Interim and Final Order (I) Authorizing, But Not
         Directing, the Debtors to (A) Pay Their Obligations Under Insurance Policies
         Entered into Prepetition, (B) Continue to Pay Brokerage Fees, (C) Renew,
         Supplement, Modify, or Purchase Insurance Coverage, and (D) Honor the Terms
         of the Financing Agreements and Pay Premiums Thereunder, and (II) Granting
         Related Relief (the “Insurance Motion”).

         37.       The Debtors request authority authorizing but not directing them to pay obligations

under insurance policies entered into prepetition and to renew, supplement, modify, or purchase

insurance coverage in the ordinary course and honor the terms of certain financing agreements. In

addition, the Debtors request that the Court schedule a final hearing within approximately 30 days

of the commencement of these chapter 11 cases to consider approval of this motion on a final

basis.

         38.       The Debtors maintain approximately fourteen (14) insurance policies administered

by multiple third-party insurance carriers. The Insurance Policies provide coverage for, among

other things, the Debtors’ directors and officers liability, crime, flood, food contamination,

casualty, international, and network/cyber liability. The Debtors’ Insurance Policies are essential

to the preservation of the value of the Debtors’ business, properties, and assets. I understand




PHIL1 8628754v.1
               Case 20-10156-MFW           Doc 4     Filed 01/27/20    Page 27 of 32



that, in many cases, insurance coverage such as that provided by the Insurance Policies is

required by diverse regulations, laws, and contracts.

        39.        For the twelve months preceding the Petition Date, the Debtors paid approximately

$2,692,000 in the aggregate on account of premiums under the existing Insurance Policies. The

Debtors generally pay premiums with respect to the Insurance Policies, as a combination of down

payment and monthly payment, to the Debtors’ insurance brokers.

        40.        Most of the Insurance Policies are financed through premium Financing

Agreements with Imperial PFS. Pursuant to the Financing Agreements, the Debtors are required

to make monthly premium payments for the various policies. As of the Petition Date, there is

approximately $615,000 outstanding on account of the Financing Agreements and an additional

$150,000 due on account of other insurance obligations, some or all of which will come due during

the pendency of these chapter 11 cases. The Debtors further estimate that approximately $214,000

of such amounts will come due within the first 30 days of these cases. The Debtors seek the

authority to honor any prepetition amounts outstanding on account of the Insurance Policies,

including under the terms of the Financing Agreements, and pay premiums thereunder.

        41.        Failure to make the payments required by the Debtors’ Insurance Policies,

including the Financing Agreements, could have a significant negative impact on the Debtors’

operations. Continuation of the Insurance Policies is essential to the preservation of the value of

the Debtors’ properties and assets. Moreover, in many cases, coverage provided by the Insurance

Policies is required by the regulations, laws, and contracts governing the Debtors’ commercial

activities, including the requirements of the Office of the United States Trustee for the District of

Delaware.




PHIL1 8628754v.1
               Case 20-10156-MFW             Doc 4     Filed 01/27/20     Page 28 of 32



        42.        I believe that the relief requested in the Insurance Motion is in the best interest of

the Debtors’ estates, their creditors, and all other parties in interest, and will enable the Debtors

to continue to operate their businesses in chapter 11 without disruption. Accordingly, on behalf

of the Debtors, I respectfully submit that the Insurance Motion should be approved.

XI.     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
        Debtors to Obtain Postpetition Financing Pursuant to Section 364 of the Bankruptcy
        Code, (II) Authorizing the Use of Cash Collateral Pursuant to Section 363 of the
        Bankruptcy Code, (III) Granting Adequate Protection to the Prepetition Secured
        Parties Pursuant to Sections 361, 362, 363 and 364 of the Bankruptcy Code,
        (IV) Granting Liens and Superpriority Claims, (V) Modifying the Automatic Stay,
        and (VI) Scheduling a Final Hearing (the “DIP Motion”).

        43.        The Debtors have an immediate need for access to incremental liquidity in the form

of postpetition financing as well as access to Cash Collateral. The Debtors cannot maintain the

value of their estates during the pendency of these chapter 11 cases without access to cash. The

Debtors will use cash to, among other things, continue operating their businesses and satisfy other

working capital needs during these chapter 11 cases. The Debtors believe that all or substantially

all of their available cash constitutes the cash collateral, as that term is used by section 363(c) of

the Bankruptcy Code, of the Prepetition Secured Parties. The Debtors will therefore be unable to

proceed with operating their businesses without the ability to use Cash Collateral and will suffer

immediate and irreparable harm to the detriment of all creditors and other parties in interest. In

short, the Debtors’ ability to finance their business operations, and the availability of sufficient

working capital and liquidity to the Debtors through the use of Cash Collateral, is vital to the

preservation and maintenance of the value of the Debtors’ estates and the successful prosecution

of these chapter 11 cases.

        44.        Further support for the DIP Motion can be found in the First Day Declaration and

the Declarations of Vineet (“Vin”) Batra in Support of the DIP Motion filed contemporaneously

herewith. The DIP Motion seeks authority for the Debtors to obtain a DIP Facility with a DIP


PHIL1 8628754v.1
               Case 20-10156-MFW             Doc 4    Filed 01/27/20     Page 29 of 32



Revolving Loan up to $22,000,000 in new money, including $8,000,000 during the interim period

and additional $14,000,000 upon entry of the Final Order (the “DIP Facility” and the loans made

thereunder, the “DIP Loans”) on the terms and conditions set forth in the DIP Orders and the Senior

Secured Priming and Super-Priority Debtor-in-Possession Credit Agreement (the “DIP

Agreement”) to be executed among the Borrowers, Antares Capital LP, as agent (in such capacity,

the “DIP Agent”), and for and on behalf of the lenders party thereto from time to time (collectively,

the “DIP Lenders”).

        45.        Without access to postpetition financing, I believe the Debtors would lack sufficient

funds to meet their working capital needs and operate their business during these chapter 11 cases,

including payment of employees and vendors, resulting in significant impairment of the value of

the Debtors’ estates to the detriment of all stakeholders.

        46.        In light of the Debtors’ liquidity position, I have assisted the Debtors in an

evaluation of the Debtors’ financing needs and funding alternatives and have worked closely with

the Debtors, their management, and their advisors to evaluate the Debtors’ cash requirements for

their businesses. As part of their evaluation of the Debtors’ financing needs, I worked with the

Debtors in developing a cash flow forecast, which took into account anticipated cash receipts and

disbursements during the projected period and considered a number of factors, including the effect

of the chapter 11 filing on the operations of the business, likely fees and interest expenses

associated with any debtor-in-possession financing facility, professional fees, and required

operational payments. Given the Debtors’ circumstances and for the reasons set forth below, I

believe that the terms of the DIP Facility, as set forth in the DIP Agreements, are fair, reasonable,

and adequate.




PHIL1 8628754v.1
               Case 20-10156-MFW             Doc 4    Filed 01/27/20     Page 30 of 32



        47.        Based on the foregoing, it is my belief that the DIP Facility and consensual use of

Cash Collateral represents the best option available to address the Debtors’ immediate liquidity

needs and is a critical component of the Debtors’ chapter 11 strategy. It is also my belief that the

terms and conditions of the DIP Facility are reasonable and appropriate under the circumstances

and were the product of extensive good-faith, arm’s-length negotiations with the DIP Lenders.

Specifically, the Debtors determined that the roll-up contemplated by the DIP Facility is necessary

to obtain access to the liquidity necessary to preserve the value of their business, and that the

milestones and covenants contained in the DIP Credit Agreement were negotiated and required by

the DIP Lender as a condition to the DIP Facility. Under the circumstances of these chapter 11

cases, these provisions are reasonable and appropriate.

        48.        Finally, the Debtors’ businesses are cash intensive, with significant recurring costs

required to satisfy obligations to vendors and employees. As such, and due to their current limited

liquidity, the Debtors require immediate access to the DIP Facility and the use of Cash Collateral

to operate their businesses, preserve value, and to avoid irreparable harm pending the Final

Hearing. Absent funds available from the DIP Facility and access to Cash Collateral at this critical

early stage, the Debtors could face a value-destructive interruption to their businesses—which, in

turn, would hinder the Debtors’ ability to maximize the value of their estates—and be forced to

curtail their operations significantly and to the detriment of the Debtors, their estates, and their

creditors.

        49.        The Debtors seek further authorization to use the proceeds of the DIP Facility as

expressly provided in the DIP Documents and consistent with the Budget to pay costs, fees, and

expenses of the DIP Agent and DIP Lenders and related attorneys’ fees; to provide working capital

for other general corporate purposes of the Debtors; and to pay administration costs, fees and




PHIL1 8628754v.1
               Case 20-10156-MFW             Doc 4    Filed 01/27/20     Page 31 of 32



expenses of these Cases and claims or amounts approved by the Bankruptcy Court. As set forth

in the DIP Motion, the Debtors also seek authorization to execute and deliver the DIP Agreement

and related documents and to perform such other and further acts as may be necessary or

appropriate in connection therewith.

        50.        In exchange for the DIP Loans, the DIP Obligations will receive joint and several

superpriority allowed administrative expense claim status in the chapter 11 cases; and the DIP

Secured Parties will receive postpetition security interests in and liens on the DIP Collateral first

priority lien on all assets of the Debtors, including all property of their respective estates in the

Cases, whether real or personal, tangible or intangible, now owned or hereafter acquired and all

proceeds, profits, rents, accessions and substitutes thereof, that is not subject to (i) valid, perfected

and non-avoidable liens in existence as of the Petition Date or (ii) valid and non-avoidable liens in

existence as of the Petition Date that are perfected thereafter to the extent permitted by section

546(b) of the Bankruptcy Code; a first priority, senior priming lien on and security interest in all

of the Debtors’ assets subject to certain excluded assets and carve outs.

        51.        The DIP Motion seeks further authority, subject to entry of the Final Order, to grant

liens to the DIP Secured Parties on the proceeds of the Debtors’ claims and chapter 5 causes of

action. The DIP Motion, if granted, provides authority for the Debtors to use, among other things,

in accordance with the Budget, any cash collateral in which the Prepetition Secured Parties may

have an interest and the granting of adequate protection to the Prepetition Secured Parties with

respect to any diminution in value of their interests in the Prepetition Collateral arising from, inter

alia, the Debtors’ use of the Prepetition Collateral (including Cash Collateral), or the imposition

of the automatic stay under section 362 of the Bankruptcy Code.




PHIL1 8628754v.1
               Case 20-10156-MFW         Doc 4     Filed 01/27/20     Page 32 of 32



        52.        The Debtors, therefore, request immediate authority to obtain postpetition

financing and use Cash Collateral on an interim basis, as set forth in this Motion and in the Interim

Order, to prevent immediate and irreparable harm to their estates pending the Final Hearing.




PHIL1 8628754v.1
